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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION

ADOM L. DANIELS,                         )
                                         )
      Petitioner,                        )
                                         )
      v.                                 )   CAUSE NO. 3:05-CV-768 RM
                                         )       (Arising from 3:03-CR-22(01)RM)
UNITED STATES OF AMERICA,                )
     Respondent.                         )
                                         )


                              OPINION and ORDER

      Mr. Adom L. Daniels filed a 28 U.S.C. § 2255 petition to vacate, set aside,

or correct his sentence. For the following reasons, the court denies the petition.

      Section 28 U.S.C. § 2255 states:

      A 1-year period of limitation shall apply to a motion under this
      section. The limitation period shall run from the latest of–

            (1) the date on which the judgment of conviction becomes final;

            (2) the date on which the impediment to making a motion
      created by governmental action in violation of the Constitution or
      laws of the United States is removed, if the movant was prevented
      from making a motion by such governmental action;

             (3) the date on which the right asserted was initially recognized
      by the Supreme Court, if that right has been newly recognized by the
      Supreme Court and made retroactively applicable to cases on
      collateral review; or

             (4) the date on which the facts supporting the claim or claims
      presented could have been discovered through the exercise of due
      diligence.
      The statute of limitations began running in this case 90 days after June 2,

2004, when the court of appeals issued its judgment affirming Mr. Daniels’s
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conviction and sentence.1 Clay v. United States, 537 U.S. 522, 525 (2003). Thus,

for Mr. Daniels’s petition to be timely he would have had to file it with the Clerk

in September 2005, but Mr. Daniels didn’t file his § 2255 petition until December

2005. The only proffered reason for Mr. Daniels’s untimely filing is that he first

mailed his petition to the United States Attorney’s Office sometime in September

2005, and that office did not forward the petition on to the Clerk in a timely

fashion. Mr. Daniels hasn’t provided any evidence that he sent the petition to the

that office, or that the United States Attorney’s office has any obligation to file Mr.

Daniels’s petition for him.

        Mr. Daniels makes reference that because his § 2255 petition relies heavily

on Blakely v. Washington, 542 U.S. 296 (2004), and United States v. Booker, 543

U.S. 220 (2005), the interests of justice should excuse his late filing so the court

can reach the merits of his petition. Neither Blakely nor Booker apply to Mr.

Daniels’s case. McReynolds v. United States, 397 F.3d 479, 481 (7th Cir. 2005)

(““We conclude, then, that Booker does not apply retroactively to criminal cases

that became final before its release on January 12, 2005. That date, rather than

June 24, 2004, on which Blakely, came down, is the appropriate dividing line;

Blakely reserved decision about the status of the federal Sentencing Guidelines,




        1
            SUP. CT. R. 13.1 reads: “[u]nless otherwise provided by law, a petition for writ of certiorari
to review a judgment in any case, civil or criminal, entered by . . . a United States court of appeals
. . . is timely when it is filed . . . within 90 days after entry of judgment.”

                                                    2
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so Booker itself represents the establishment of a new rule about the federal

system.”).

      Mr. Daniels filed his § 2255 petition beyond the one-year time frame allowed

by law, and because there is no legal ground to excuse him from that strict

requirement, § 2255's one-year statute of limitations precludes proceeding on the

merits of the petition. It must therefore be DENIED [Doc. No. 135 in Cause No.

3:03-CR-022].

      SO ORDERED.

      ENTERED: August 18, 2006

                                     /s/ Robert L. Miller, Jr.
                                     Chief Judge
                                     United States District Court

cc:   A. Daniels
      W. Grimmer




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